

Matter of Hutchinson (2020 NY Slip Op 02316)





Matter of Hutchinson


2020 NY Slip Op 02316


Decided on April 16, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 16, 2020

PM-54-20

[*1]In the Matter of Kathryn Wood Hutchinson, an Attorney. (Attorney Registration No. 5286539.)

Calendar Date: April 13, 2020

Before: Clark, J.P., Mulvey, Aarons, Pritzker and Reynolds Fitzgerald, JJ.


Kathryn Wood Hutchinson, Austin, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kathryn Wood Hutchinson was admitted to practice by this Court in 2014 and lists a business address in Austin, Texas with the Office of Court Administration. Hutchinson now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Hutchinson's application.
Upon reading Hutchinson's affidavit sworn to January 8, 2020 and filed January 17, 2020, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Hutchinson is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Clark, J.P., Mulvey, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Kathryn Wood Hutchinson's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kathryn Wood Hutchinson's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kathryn Wood Hutchinson is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hutchinson is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kathryn Wood Hutchinson shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








